                       Case 1:19-cv-05153-ENV Document 5 Filed 09/11/19 Page 1 of 2 PageID #: 2236
    JS 44 (Rev. 02/ 19)                                                           CIVIL COVER SHEET
The JS 44 civil cover sheet and the infonnation contained herein neither rep lace nor supplement the fi ling and service of p leadings or other papers as required by law, except as
provided by loca l ru les ofcom1. This fonn, approved by the Judicial Conference of the Un ited States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SE/i INSTRUCTIONS ON NEXT l'AGt: OF THIS FORM)

I. (a) PLAINTIFFS                                                                                                        DEFENDANTS
    OWO LABI SALIS                                                                                                     KEVIN McALEENAN
                                                                                                                       Acting Secretary
                                                                                                                       nr-n/\n111.,1r-11. 1, r-.r- 1,,....,. .. ,... , All.Ir"'\"'''"' '   i r , 1-r'o. l'

       (b) County of Residence of First Listed Plaintiff                  KINGS COUNTY                                   County of Residence of First Listed Defendant
                                     (EXCEPT IN U.S PLAINTIFF CASES)                                                                                         (IN U.S. Pl.A/NT/FF('ASES ONLY)
                                                                                                                         NOT E:       IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                      THE TRACT OF LAND INVOLVED.


       (C)      Attorneys (Firm Name, Address, and Telephone Number)                                                      A ttomeys (If K11ow11)

    PRO SE


11. BASIS OF JURISDICTION (Place an "X" in One Box 011/y)                                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                               "X" in One Box/or Plai11ti/l
                                                                                                                   (For Diversity Cases Only)                                                  and One Box for Defendant)
0 I           U.S. Govemmenl                 0 3   Federal Ques1ion                                                                          PTF               DEF                                             PTF      DEF
                 Plain1iff                           (U.S. Government Noto Party)                             Ci1izen of This Slale         O I                0          lncorpora1ed or Principal Place       0 4     0 4
                                                                                                                                                                            of Business In This State

i!f. 2 U.S . Govemmen1                       0 4   Diversity                                                  Citizen of Anot her State            0 2         0     2    Incorporated and Principal Place               0      S   O 5
                Defendanl                            (lndicare Citizenship of Parties in Item Ill)                                                                           of Business In Another State

                                                                                                              Citizen or Subject of a              0 3         0     3   Foreign Nation                                  0      6   0 6
                                                                                                                F orei n Count

IV. NATURE OF SUIT (Place a11                         "X" in One Box Only)
I                CONTRACT                                           TORTS                                         FORFEITURE/PENALTY                               BANKRUPTCY                                OTHER STATUTES               I
0      110  Insurance                         PERSONAL INJURY               PERSONAL INJU RY                  0 625 Drug Related Seizure                 0 422 Appeal 28 USC 158                        0 375 Fa lse Claims Acl
'.J    120  Marine                       0    310 Airplane               0 365 Personal Injury •                    of Property 2 1 USC 88 1             0 423 Wi1hdrawal                               0 376 Qui Tam (3 1 USC
'.J    130  Miller Acl                   0    3 I 5 Airplane Product             Produc1 Liabil ity           0 690 O1her                                      28 USC 157                                      3729(a))
'.J    140  Ncgo1iable lns1rumen1                    Liability           0 367 Health Carel                                                                                                             0 400 State Reapportionmcnl
'.J    I SO Recovery ofOverpaymcnl       0    320 Assault, Libel &              Pharmaceutical                                                                PROPERTY RIGHTS                           0 4 10 An litrust
            & Enforcement of Judgment                Slander                    Personal Injury                                                          0 820 Copyri gh1s                              0 430 Banks and Banking
'.J    15 I Medicare Act                 0    330 Federal Employers             Product Liability                                                        0 830 Pa1en1                                   0 450 Commerce
:J     152 Recovery of Defauhcd                      Liability           0 368 Asbestos Personal                                                         0 840 Trademark                                0 460 Dcporta1ion
            Student Loans                0    340 Marine                         Injury Pro<luct                                                                                                        0 470 Racketeer lnlluenced and
            (Excludes Veterans)          0    345 Marine Product                 Liability                                   LABOR                           SOCIAL SECURJTY                                   Corrupt Organizations
0      153 Recovery ofOvcrpaymcnl                    Liability             PERSONAL PROPERTY                  0 7 10 Fair Labor S1anda rds               0   861 HIA(l39Sfl)                            0 480 Consumer Credit
            of Veteran's Benetils        0    350 Motor Vehicle          0 370 O1her Fraud                           Act                                 0   862 Black Lung (923)                       0 490 Cable/Sat TV
0      160 Stockholders' Suits           0    355 MolOr Vehicle          0 371 Tru1h in Lending               n 720 Labor/Managemen1                     0   863 DIWC/DJWW (40S(g))                     0 850 Securities/Commod ities/
0      I 90 O1hcr Conlract                          Product Liability    0 380 O1her Personal                        Rela1ions                           0   864 SSID T itle XVI                               Exc hange
0      195 Contract Producl Liabilily    0    360 O1her Personal                Property Damage               0 740 Railway Labor Ac1                    0   865 RSI (405(g))                           0 890 O1hcr S1atutory Ac1ions
0 196 Franchise                                     Injury               0 385 Property Damage                n   75 1 Fami ly and Med ical                                                             0 89 1 Agricuhural Acls
                                         0    362 Personal Injury•              Producl Liability                      Leave Act                                                                        0 893 Environmental Matte rs
                                                    Medical Maloraclice                                       0 790 O1her Labor Litigation                                                              0 895 Freedom of Information
I         REAL PROPERTY                         CIV IL RIGHTS             PRJSONER PETITIONS                  0 791 Employee Re1irement                       FEDERAL TAX SUITS                                Al'.t
 0    210 Land Condemnation              0    440 Other Civil Rights        Habeas Corpu s:                         Income Securi ty Act                 0 870 Taxes (U.S. Plaint iff                   0 896 Arbitration
 D    220 Foreclosure                    D    441 Voting                 0 463 Alien De1ainee                                                                   or Defendanl)                           0 899 Administrative Procedure
 0    230 Rent Lease & Ejectmenl         0    442 Employment             D S 10 Molions to Vacate                                                        0 87 1 IRS-Th ird Pany                               Act/Review or Appeal of
 0    240 Torts to Land                  0    443 Housing/                      Sentence                                                                        26 use 7609                                   Agency Decision
 0    245 Tort Product Liabili1y                    Accommodations       0 530 General                                                                                                                  0 950 Constilutionality of
 0    290 All Other Real Property        0    445 Amer. w/Disabilitics - 0 535 Dealh Penalry                           IMMIGRATION                                                                             State Statutes
                                                    Employment              Oth er:                           0 462 Natural iza1ion Applicalion
                                         0    446 Amer. w/Disabili1ies - 0 540 Mandamus & Other               i:>J: 465 O1her Immigration
                                                    Olher                0 550 Civil Rights                             Ac1ions
                                         0    448 Education              0 555 Prison Condition
                                                                         0 560 Civil Dclaincc •
                                                                                Conditions of
                                                                                Confinement

V . ORIGIN              (Place an "X "' in One Box 011I;)
~ 1 Original                   O 2 Removed from                  0    3    Remanded from               0 4 Reinstated or            O 5 Transferred from                 0 6 Mult idistrict
              Proceeding           State Court                             Appellate Court                    Reope ned                     Another District                        Li tigation
                                                                                                                                            (.,peci[v)
                                               Cite thes U.S. Ciyil Statute U!J.Pef \1/hich you ~re filing (Dn 11nt_cite,.iwi-«iicrjpnrl S{fj{IJ!es UIIU!Su' di;:_er;jtyl,:.
VI. CAUSE OF ACTION
                                               28 U . .C.       s L20 1, the uec1aratory Judgment Act, Lts u .S.l.;. s 1jj1 , 42
                                              t----,-------------=---=---------==----'-------=----=------.:..._-___..:..._
                                                                                                                                                                     .::S.l.; .   s 1983. general federal question ju ri~
                                               ~i~1te~l~t~f t A~tr1 MM IGRATION AND NATIONALITY ACT
VII. REQUESTED IN     0                              CHECK IF THIS IS A CLASS ACTION                              DEMANDS                                            CHECK YES only if demanded in complaint:
     COMPLAINT:                                      UNDER RULE 23, F.R.Cv.P.                                                                                        .JURY DEMA N D:                         0 Yes       ~ No

VIII. RELATED CASE(S)
                                                   (See instruc:tious):
      IF ANY                                                                                                                                                 DOCKET NUM BER
DATE
09/11 /2019                                                                                                                                  )
FOR OFFICE USE ONLY

      RECEI PT#                      AMOUNT                                         APPLYING IFP                                        JUDGE                                       MAG.JUDGE
            Case 1:19-cv-05153-ENV Document 5 Filed 09/11/19 Page 2 of 2 PageID #: 2237
                                               CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83. 7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligib le for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certifica ti on to the contrary is filed .

Case is Eligible for Arbitration      D
I, - - - - - - - - - - - - - - - - ~ counse l for _ _ _ _ __ _ __ _ _~ do hereby certify that the above captioned civil action is ine ligib le for
compulsory arbitration for the following reason(s):



        □                monetary damages sought are in excess of $150,000, exclusive of interest and costs,

        0                the complaint seeks injunctive relief,

        0                the matter is otherwise ineligible for the following reason

                                   DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1
                          Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks :
Issues for determination are Double Jeopardy Clause of the Fifth Amendment to the U.S Constitution and Civil Rights Act.




                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VI II on the front of this fo rm . Rule 50.3.1 (a) provides that "A civil case is "related "
to another civil case for purposes of this guideline when , because of the similari ty of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge." Rule 50.3.1 (b) provides that" A civil case shall not be
deemed "related " to another civil case merely because the civil case: (A) involves identical legal issues , or (B) involves the same parties." Rule 50.3. 1 (c) further provides tha t
"Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be "related" unless both cases are still
pending before the court."

                                                            NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)


1.)         Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?                     D
                                        Yes        IZ] No
2.)         If you answered "n o" above :
            a) Did the events or omissions giving ri se to the c laim or claims , or a substantial part thereof, occur in Nassau or Suffolk
            County?                  YesD      IZ) No
            b) Did the events or omissions g ivi t]Lrise to the claim or claims , or a substantial part thereof, occur in the Eastern
            District?         IZ) Yes            LJ No
            c) Tfthi s is a Fair Debt Co llection Practice Act case, specify the County in which the offending communication was
            received :

If your an swer to question 2 (b) is "No, " does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in      L]
                          intergleader 150n, does the claimant (or a majority of the claimants, if the re is more than one) reside in Nassau or
Suffolk County?               Yes                 No
          (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts) .

                                                                                          BAR ADMISSION

            I am cu rrentl y adm itted in the Eastern District of New York and cu rrently a member in good standing of the bar of this court.

                                          0                  Yes
                                                                                                                 □          No

            Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?


                                          □                  Yes        (If yes , please explain                            No




                                                                                                                                                                         Lost Modified: 11/27/2017
